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THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF PENNSYLVANIA

DAVID HATCHIGIAN AND
JOAN RANDAZZO

Vs. : CIVIL ACTION NO. 20-4110
COUNTY OF PHILADELPHIA, :
COURT OF COMMON PLEAS
OF PHILADELPHIA COUNTY,
CARRIER CORPORATION and
PEIRCE-PHELPS

 

ORDER

AND NOW, this day of , 2021, upon consideration of the
F.R.C.P. 12(b) Motion of Defendant, Peirce-Phelps, LLC to Dismiss Plaintiffs’ Amended
Complaint, and any response thereto, it is hereby ORDERED and DECREED that the Motion of
Defendant, Peirce-Phelps, LLC is hereby GRANTED and Plaintiffs’ Amended Complaint is

dismissed, with prejudice.

BY THE COURT:

 
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PEIRCE-PHELPS

 

MOTION TO DISMISS PLAINTIFFS’ AMENDED COMPLAINT
PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)

Moving Defendant, Peirce-Phelps, LLC, by and through its counsel, James F. Ryan,
Esquire, files this Motion to Dismiss pursuant to both F.R.C.P. 12 (b) (1) for lack of subject
matter jurisdiction based on the Rooker-Feldman doctrine, and lack of diversity and also
pursuant to F.R.C.P. 12 (b)(6), as on the face of Plaintiffs’ Amended Complaint, the applicable
statutes of limitations have expired.

In addition, plaintiffs’ claim under the Magnuson Moss Warranty Act must fail for lack
of subject matter jurisdiction as plaintiffs have failed to meet the damages threshold set forth in
the Act. Finally, plaintiffs’ claims must be barred pursuant to Res Judicata as the allegations set
forth in Plaintiffs’ Amended Complaint against Peirce-Phelps, LLC have already been litigated

and a final Order has been entered.
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In support of its Motion, defendant, Peirce-Phelps, LLC incorporates by reference
its Memorandum of Law as though fully set forth herein at length. Moving defendant, Peirce-

Phelps, LLC, respectfully requests dismissal of Plaintiffs’ Amended Complaint, with prejudice.

Respectfully submitted,

LAW OFFICE OF JAMES F. RYAN

By:

 

JAMES F. RYAN
Attorney for Defendant,
Peirce-Phelps, LLC
